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                     Exhibit A
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                       Exhibit CC
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From:               Smith, Colby A.
To:                 Howard Courtney (USANJ) 2
Cc:                 Grippo Nicholas (USANJ); Last David (CRM); Rohlik Philip; O"Neil David A.; Simon Jil
Subject:            RE: L&T- call [DF-AMER.FID1691432]
Date:               Tuesday, November 6, 2018 11:02:47 AM




FIOA CONFIDENTIAL TREATMENT REQUESTED

Dear Courtney:

I am writing to follow up to our call on October 25, during which you asked L&T Construction to
voluntarily produce a copy of Cognizant Technology Solutions Corp.'s ("CTS's"), or its Indian
subsidiary's, application for the planning permit associated with the KITS project.

As part of its continued cooperation with the DOJ's inquiry, we and L&T Construction have
undertaken a search for the application among L& T Construction's records. Unfortunately, we were
unable to find a copy of the application for the planning permit. For your information, the search
included the following steps:

      •    As we discussed when we spoke, we had thought the planning permit application would
           have turned up during the course of our prior productions, if a copy of the planning permit
           application had been in L&T Construction's custody and control. The planning permit itself
           was a key focus of prior inquiries and searches, including those responsive to your letter
           request dated December 8, 2017. As you know, our prior productions included more than
           50,000 records encompassing roughly 171,000 pages. The planning permit itself was
           produced at Bates Number LT00004859-66. Nevertheless, as a double-check on our prior
           work, we and our co-counsel from Cyril Amarchand Mangaldas queried our database of
           documents using the following search terms and phrases:

               o "Planning Permit Application"

               o "PP Application"

               o "PPA"

               o "Form* A"

               o "Form* B"

               o "KITS Planning Permit"

               o "Application for planning permit"

               o "CMDA Planning Permit"

           We had identified these search phrases, including the references to Forms A and B, following
           on line research into the process for seeking and obtaining a planning permit.




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     •    Separately, L& T Construction made additional internal inquiries seeking copies of the
          planning permit application. Those inquiries did not yield a copy of the planning permit
          application.

     •    Finally, we would remind you, as we discussed on our October 25 call and in connection
          with prior productions, that some L& T Construction records from the KITS project were
          destroyed during an unprecedented flood in Chennai in December 2015. The planning
          permit application could have been among those records. In addition, we would note that
          the planning permit application is required to be submitted by the sponsor of the project -
          in this case CTS's Indian subsidiary-which has the legal responsibility to sign the application
          in order to obtain the planning permit. The planning permit itself was issued in the name of
          CTS's Indian subsidiary, which is listed as the applicant.

As always, please let me know if you have any further questions or would like to discuss this
response.

Best regards,

Colby



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8000) and then delete and discard all copies of the e-mail. Thank you.



-----Original Message-----
From: Howard, Courtney (USANJ) 2 [mailto:Courtney.Howard@usdoj.gov]
Sent: Wednesday, October 24, 2018 8:42 AM
To: Smith, Colby A.
Cc: Grippo, Nicholas (USANJ); Last, David (CRM); Rohlik, Philip; O'Neil, David A.
Subject: Re: L&T - call


Great, let's plan on 10:30, as we are tied up earlier in the morning. Thanks.


Courtney A. Howard




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Tel: 973-645-2859<tel:973-645-2859>


cou rtney.howa rd@usdoj.gov<ma ilto :cou rtney.howa rd@usdoj.gov>


On Oct 22, 2018, at 8:57 PM, Smith, Colby A.
<casm ith@debevoise.com<ma i Ito :casm ith@debevoise.com>> wrote:


Courtney:


We could speak on Thursday, October 25, anytime between 830am and 1100am, if that works for
you.


Thanks.


Colby


Colby A. Smith
Partner
Debevoise & Plimpton LLP


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8000<tel:202-383-8000>) and then delete and discard all copies of the e-mail. Thank you.


On Oct 22, 2018, at 7:32 PM, Howard, Courtney (USANJ) 2
<Courtney.Howa rd@usdoj.gov<ma ilto:Cou rtney. How a rd@usdoj.gov» wrote:


Colby,


Could we schedule a brief call in the next day or so? We have a limited document request that we
would like to discuss.




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Thanks,


Courtney A. Howard
Assistant United States Attorney
United States Attorney's Office
District of New Jersey
Tel: 973-645-2859


cou rtney.howa rd@usdoj.gov<ma ilto :cou rtney.howa rd@usdoj.gov>




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